    Case 19-23410-SLM         Doc 83    Filed 06/15/20 Entered 06/15/20 11:24:32             Desc Main
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Marie-Ann Greenberg, MAG-1284
Marie-Ann Greenberg, Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550
973-227-2840
Chapter 13 Standing Trustee
                                                       UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF NEW JERSEY
IN RE:                                                 NEWARK VICINAGE
ANTHONY P BIASI
                                                       Chapter 13 Case No.: 19-23410SLM

                                                       HEARING DATE: 7/22/2020 at 10:00 am
STEVEN MARTINO                                         ORAL ARGUMENT REQUESTED
IACULLO MARTINO, LLC
247 FRANKLIN AVENUE
NUTLEY, NJ 07110

ANTHONY P BIASI
45 ERIC TRAIL
PO BOX 7271
SUSSEX, NJ 07461

                          NOTICE OF MOTION TO DISMISS PETITION

Marie-Ann Greenberg, Chapter 13 Standing Trustee, has filed papers with the Court for an Order
Dismissing this case.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one, in this bankruptcy case. (If you do not have an attorney, you may wish
to consult one.)

If you do not want the Court to grant the Order dismissing this case, or if you want the court to consider
your views on the motion, then on or before seven (7) days before the scheduled hearing date of
07/22/2020, you or your attorney must:

File a WRITTEN RESPONSE in opposition to this motion explaining your position and send it to:

              US Bankruptcy Court
              Office of the Clerk
              50 Walnut Street, Third Floor A
              Newark, NJ 07102
                    and
              Marie-Ann Greenberg
              Chapter 13 Standing Trustee
              30 Two Bridges Road
              Suite 330
              Fairfield, NJ 07004-1550
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If you mail your response to the court for filing, you must mail it early enough so the court will receive
it on or before the date stated above.

The hearing is scheduled to be held on 07/22/2020 at 10:00 am in the courtroom of Honorable Judge
STACEY L. MEISEL, at US Bankruptcy Court, 50 Walnut Street, Third Floor A, Newark, NJ 07102.

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter the order granting relief.




                                                      Marie-Ann Greenberg, Esquire
                                                      Chapter 13 Standing Trustee



Dated: June 15, 2020                                  By:   /S/Marie-Ann Greenberg
                                                            Marie-Ann Greenberg, Esquire
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                                                          UNITED STATES BANKRUPTCY COURT
IN RE:                                                    DISTRICT OF NEW JERSEY
                                                          NEWARK VICINAGE
ANTHONY P BIASI
                                                          Chapter 13 Case No.: 19-23410SLM


                                                          CERTIFICATION IN SUPPORT OF MOTION


I, Jessica Antoine, being of full age certify that:
   I am a Paralegal for Marie-Ann Greenberg, Standing Trustee, and am familiar with the facts of this case.

   The debtor(s), as of the date of this certification are delinquent a total of 1,566.04.

   For the reasons set forth above, the Trustee recommends the case be dismissed.


I certify that the foregoing statements made by me are true. I am aware that if any of the foregoing
statements made by me are willingly false, I am subject to punishment.



                                                       By:    /S/ Jessica Antoine
Dated: June 15, 2020
                                                             Jessica Antoine
